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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 Amanda Kelly, as Parent/Guardian for Infant G.S.,
 on behalf of herself and those similarly situated,        Case No. 5:18-CV-0702 (GTS/ATB)
              Plaintiffs,
     v.                                                    CLASS ACTION COMPLAINT
 Wal-Mart Stores, Inc.,                                    JURY TRIAL DEMANDED
              Defendant.



                                       INTRODUCTION


       1.       Wal-Mart sells Parent’s Choice Organic Rice Rusks at its stores. The Rice Rusks

are a snack for small children. The packaging of the Rice Rusks does not disclose that the Rice

Rusks contain milk or eggs, but they do.

       2.       Wal-Mart is required to disclose the presence of allergens such as milk and eggs

on packaged foods under the Food Allergen Labeling and Consumer Protection Act of 2004, 21

U.S.C § 343(w).

       3.       Plaintiff purchased the Rice Rusks for her one-year old daughter relying on the

fact that the Rice Rusks did not contain milk or eggs, since the packaging did not state that the

Rice Rusks contained eggs or milk. Plaintiff’s daughter suffered a severe allergic reaction to the

Rice Rusks.




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       4.      The undisclosed presence of milk or eggs in the Rice Rusks presents a danger to

children with egg or milk allergies. The Rice Rusks should be removed from Wal-Mart’s

shelves immediately and purchasers should receive refunds.

                                 JURISDICTION AND VENUE

       5.      Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2). Plaintiff Amanda Kelly

is a citizen of the State of New York and resides in Onondaga County, New York. Defendant is

a Delaware corporation with its principal place of business in Bentonville, Arkansas. Upon

information and belief, the amount in controversy is in excess of $5,000,000, exclusive of

interests and costs.

       6.      Jurisdiction is also proper under 28 U.S.C. § 1332(a) because the parties are

citizens of different states and the amount in controversy for Plaintiff’s individual claim is

greater than $75,000.

       7.      This Court has personal jurisdiction over Defendant because Defendant conducts

and transacts business in the State of New York, contracts to supply goods within the State of

New York, and supplies goods within the State of New York.

       8.      Venue is proper because Plaintiff and many Class Members reside in the Northern

District of New York, and throughout the State of New York. In addition, the transactions and

occurrences giving rise to this action took place in this District.




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                                              PARTIES

Plaintiff

       9.        Plaintiff Amanda Kelly is an individual consumer who, at all times material

hereto, was a citizen of Onondaga County, New York. During the Class Period she purchased

the Rice Rusks from a Wal-Mart store in East Syracuse, New York.

       10.       Plaintiff purchased the Rice Rusks because she carefully read the packaging,

which did not disclose that the Rice Rusks contained milk or eggs. Plaintiff relied on the

packaging in making her purchase decision. Had she known the truth, that the Rice Rusks

contain milk or eggs, she would not have purchased them.

Defendant

       11.       Defendant Wal-Mart Stores, Inc. is a corporation organized and existing under the

laws of the State of Delaware with its principal place of business in Bentonville, Arkansas.

Defendant sells the Rice Rusks at Wal-Mart stores. Defendant is responsible for the contents,

ingredients, labeling and packaging for the Rice Rusks.

                                               FACTS

       12.       Plaintiff is the parent of sixteen-month old child, G.S.

       13.       G.S. suffers from egg and milk allergies for which she was diagnosed at six

months of age.

       14.       Plaintiff is careful to examine the ingredients of food products she purchases for

her daughter to see if they contain milk or eggs and does not purchase the products if they do.



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       15.     As a general matter, Plaintiff relies on the labeling of food packages to determine

if the product contains milk or eggs.

       16.     Plaintiff is willing to pay a premium for packaged food that does not contain milk

or eggs compared with packaged food that does.

       17.     On June 3, 2018, Plaintiff purchased Parent’s Choice Organic Rice Rusks at Wal-

Mart in Syracuse.




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18.   “Parents Choice” is Wal-Mart’s brand.

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       19.      Before purchase, Plaintiff examined the box to see if the Rice Rusks contained

milk or eggs.

       20.      There was no indication on the package that the product contained milk or eggs,

on the ingredients panel or anywhere else.




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       21.     Plaintiff relied on this fact when making her purchase decision.

       22.     The evening of June 3, Ms. Kelly gave one of the Rice Rusks to G.S. Before G.S.

had even finished eating it, an allergic reaction began. G.S. began to experience itching and

raised, red hives all over her body.

       23.     Plaintiff immediately recognized these signs as an allergic reaction.

       24.     Plaintiff examined the package again, concerned that she might have missed an

ingredient or that S.G’s reaction indicated that she was allergic to something besides eggs and

milk. Plaintiff again observed that the package did not disclose the presence of eggs or milk and

that G.S. regularly consumes the other ingredients disclosed on the Rice Rusk package.

       25.     The next day Ms. Kelly called Wal-Mart at the number provided on the package

to ask about the ingredients of the Rice Rusks.

       26.     The Wal-Mart representative stated that Rice Rusks may contain milk and eggs

and that the packaging of the Rice Rusks clearly states: “May contain milk or eggs.”

       27.     Plaintiff responded that the package did not state that it may contain milk or eggs.

       28.     The Wal-Mart representative stated that she was looking at the package and the

package stated: “May contain milk or eggs.”

       29.     Plaintiff looked at the Wal-Mart website and the Rice Rusks package she found

there was different from the package she bought at the store.

       30.     The Rice Rusks package on the website stated that the product “May contain milk

or eggs.”




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        31.     However, this notice did not appear on the package Ms. Kelly purchased at the

Wal-Mart store.

        32.     Ms. Kelly believes that the Rice Rusks she bought in the store are the same as the

Rice Rusks on the Wal-Mart website except for a slightly different package design and the lack

of a warning that the product may contain milk or eggs.

        33.     The Wal-Mart representative offered Plaintiff a gift card refund for the $1.84

price of the Rice Rusks. Ms. Kelly declined the offer.

        34.     Plaintiff keeps an Epipen with her at all times and carefully monitored her

daughter’s symptoms over the next few days. G.S. did not sleep for two nights and continuously

cried and tried to scratch herself.

                                      CLASS ALLEGATIONS

        35.     Plaintiff brings this matter on behalf of herself and those similarly situated.

Defendant’s customers were uniformly impacted by and exposed to the failure of Wal-Mart to

disclose the presence of milk or eggs in the Rice Rusks. Accordingly, this Complaint is well

situated for classwide resolution, including injunctive relief.

        36.     The Class is defined as all consumers who purchased the Rice Rusks contained in

packaging which did not disclose the presence of milk or eggs, anywhere in the United States

during the Class Period (the “Class”).

        37.     Ms. Kelly also seeks certification, to the extent necessary or appropriate, of a

subclass of individuals who purchased the Rice Rusks in the State of New York at any time

during the Class Period (the “New York Subclass”).
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       38.     This action should be maintained as a class action under Rule 23(a) because the

case satisfies the class action prerequisites of numerosity, commonality, typicality, and

adequacy:

       39.     Numerosity: Class and Subclass Members are so numerous that joinder of all

members is impracticable. Plaintiff believes that there are thousands of consumers who are

Class Members described above who have been misled by Defendant’s failure to disclose the

presence of eggs or milk.

       40.     Commonality: The questions of law and fact common to the Class and Subclass

Members which predominate over any questions which may affect individual Class Members

include, but are not limited to:

               a. Whether Wal-Mart is required to disclose the presence of eggs or milk in the

                   Rice Rusks on the packaging;

               b. Whether Wal-Mart is responsible for the failure to disclose the presence of

                   eggs or milk in the Rice Rusks;

               c. Whether Wal-Mart knew or should have known that the presence of milk or

                   eggs in the Rice Rusks was not disclosed;

               d. Whether Wal-Mart’s conduct constitutes a breach of its duty to class

                   members;

               e. Whether Wal-Mart’s conduct constitutes a breach of warranty of

                   merchantability;




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               f. With respect to the New York Subclass, whether Wal-Mart’s conduct violates

                   General Business Law § 349;

               g. Whether Plaintiff and the Class are entitled to injunctive relief;

               h. Whether Plaintiff and the Class are entitled to monetary damages.

       41.     Typicality: Plaintiff is a member of the Class and Subclass. Plaintiff’s claims are

typical of the claims of each Class and Subclass Member in that every member of the Class and

Subclass was subjected to the same misconduct, the failure to disclose the presence of eggs or

milk in the Rice Rusks.

       42.     Adequacy: Plaintiff is an adequate Class representative because her interests do

not conflict with the interests of the Class and Subclass Members they seek to represent; her

claims are common to all members of the Class and Subclass and she has a strong interest in

vindicating their rights; and she has retained counsel competent and experienced in complex

class action litigation and they intend to vigorously prosecute this action. Plaintiff has no

interests which conflict with those of the Class or Subclass.

       43.     The Class is properly brought and should be maintained as a class action under

Rule 23(b) because a class action is superior to traditional litigation of this controversy. Pursuant

to Rule 23(b)(3), common issues of law and fact predominate over any other questions affecting

only individual members of the Class. The Class issues fully predominate over any individual

issue because no inquiry into individual conduct is necessary; all that is required is a narrow

focus on Wal-Mart’s marketing and labeling practices. In addition, this Class is superior to other

methods for fair and efficient adjudication of this controversy because, inter alia:

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       44.      Superiority: A class action is superior to the other available methods for the fair

and efficient adjudication of this controversy because:

             a. The joinder of thousands of individual Class Members is impracticable,

                cumbersome, unduly burdensome, and a waste of judicial and/or litigation

                resources;

             b. The individual claims of the Class Members are very small, thereby making it

                impracticable, unduly burdensome, and expensive—if not totally impossible—to

                justify individual actions;

             c. When Defendant’s liability has been adjudicated, all Class Members’ claims can

                be determined by the Court and administered efficiently in a manner far less

                burdensome and expensive than if it were attempted through filing, discovery, and

                trial of all individual cases;

             d. This class action will promote orderly, efficient, expeditious, and appropriate

                adjudication and administration of Class claims;

             e. Plaintiffs know of no difficulty to be encountered in the management of this

                action that would preclude its maintenance as a class action;

             f. This class action will assure uniformity of decisions among Class Members;

             g. The Class is readily definable and prosecution of this action as a class action will

                eliminate the possibility of repetitious litigation;




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             h. Class Members’ interests in individually controlling the prosecution of separate

                actions is outweighed by their interest in efficient resolution by single class

                action; and

       45.      It would be desirable to concentrate in this single venue the litigation of all

plaintiffs who purchased Rice Rusks.

       46.      Accordingly, this Class is properly brought and should be maintained as a class

action under Rule 23(b)(3) because questions of law or fact common to Class Members

predominate over any questions affecting only individual members, and because a class action is

superior to other available methods for fairly and efficiently adjudicating this controversy.

                                 INJUNCTIVE CLASS RELIEF

       47.      Rules 23(b)(1) and (2) contemplate a class action for purposes of seeking class-

wide injunctive relief. Here, Wal-Mart has failed to disclose the presence of allergens in the

Rice Rusks. Since Defendant’s conduct has been uniformly directed at all consumers in the

United States, and the conduct continues presently, injunctive relief on a class-wide basis is a

viable and suitable solution to remedy Defendant’s continuing misconduct.

       48.      Plaintiff would probably purchase the Rice Rusks in the future if she could be

certain that she could rely on the label that the Rice Rusks do not contain eggs or milk.

       49.      The injunctive Class is properly brought and should be maintained as a class

action under Rule 23(a), satisfying the class action prerequisites of numerosity, commonality,

typicality, and adequacy because:




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   a. Numerosity: Individual joinder of the injunctive Class Members would be wholly

      impracticable. Defendant’s Products have been purchased by thousands of people

      throughout the United States;

   b. Commonality: Questions of law and fact are common to members of the Class.

      Defendant’s misconduct was uniformly directed at all consumers. Thus, all

      members of the Class have a common cause against Defendant to stop its

      misleading conduct through an injunction. Since the issues presented by this

      injunctive Class deal exclusively with Defendant’s misconduct, resolution of

      these questions would necessarily be common to the entire Class. Moreover,

      there are common questions of law and fact inherent in the resolution of the

      proposed injunctive class, including, inter alia:

             i. Resolution of the issues presented in the 23(b)(3) class;

            ii. Whether members of the Class will continue to suffer harm by virtue of

                Defendant’s marketing and labeling; and

           iii. Whether, on equitable grounds, Defendant should be ordered to stop

                selling the Rice Rusks.

   c. Typicality: Plaintiff’s claims are typical of the claims of the Injunctive Class

      because her claims arise from the same course of conduct (i.e. Defendant’s failure

      to disclose the presence of eggs and milk in the Rice Rusks. Plaintiff is a typical

      representative of the Class because, like all members of the Injunctive Class, she




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                purchased Wal-Mart’s Rice Rusks, the packaging of which failed to disclose the

                presence of eggs and milk.

             d. Adequacy: Plaintiff will fairly and adequately represent and protect the interests

                of the injunctive Class. Her consumer protection claims are common to all

                members of the injunctive Class and she has a strong interest in vindicating her

                rights. In addition, Plaintiff and the Class are represented by counsel who is

                competent and experienced in both consumer protection and class action

                litigation.

       50.      The injunctive Class is properly brought and should be maintained as a class

action under Rule 23(b)(2) because Plaintiff seeks injunctive relief on behalf of the Class

Members on grounds generally applicable to the entire injunctive Class. Certification under Rule

23(b)(2) is appropriate because Defendant has acted or refused to act in a manner that applies

generally to the injunctive Class (i.e. Defendant has marketed its Products using the same

labeling to all of the Class Members). Any final injunctive relief or declaratory relief would

benefit the entire injunctive Class as Defendant would be prevented from continuing its

misleading and deceptive marketing practices and would be required to honestly disclose to

consumers the nature of the contents of its Products.

                                 FIRST CAUSE OF ACTION
                           VIOLATION OF NEW YORK GBL § 349
                       (On Behalf of Plaintiff and the New York Subclass)

       51.      Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

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        52.     New York General Business Law Section 349 (“GBL § 349”) declares unlawful

“[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

furnishing of any service in this state . . .”

        53.     Defendant’s conduct, the sale of the Rice Rusks in its stores, is “consumer

oriented.”

        54.     Defendant’s failure to disclose the presence of eggs and milk was materially

misleading.

        55.     As a result of Defendant’s recurring, “unlawful” deceptive acts and practices, Ms.

Kelly and the New York Subclass Members are entitled to monetary, compensatory, statutory,

treble and/or punitive damages, injunctive relief, restitution and disgorgement of all moneys

obtained by means of Defendant’s unlawful conduct, interest, and attorneys’ fees and costs.

        56.     In addition, Plaintiff and the New York Subclass Members seek preliminary and

permanent injunctive relief against Defendant, enjoining it from selling the Rice Rusks without

the disclosure of the presence of eggs and milk as required by the Food Allergen Labeling and

Consumer Protection Act of 2004.

        57.     There is no adequate remedy at law, since the Rice Rusks are still being sold and

present a health risk to consumers with milk and egg allergies.

                       SECOND CAUSE OF ACTION
     NEW YORK AGRICULTURE AND MARKETS LAW (NY CLS Agr. & M § 201)
               (On Behalf of Plaintiff and the New York Subclass)

        58.      Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

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Section 201 (“Misbranding of Food”) of the New York Agriculture and Markets Law (NY CLS

Agr. & M § 201) states that “Food shall be deemed to be misbranded: 1. If its labeling is false or

misleading in any particular.”

       59.     The labeling on the Rice Rusks is “false and misleading” because it fails to

disclose the presence of milk and eggs.

       60.     Section 201 also states that “Food shall be deemed to be misbranded: … 14. If it

contains a milk protein concentrate, caseinate, or added casein…, unless its label bears the name

of such substance as an ingredient.”

       61.     The Rice Rusks are misbranded because the presence of milk means the Rice

Rusks contain “milk protein concentrate, caseinate, or added casein” and that fact is not

disclosed.

       62.     G.S. has been damaged in an amount to be determined at trial.



                          THIRD CAUSE OF ACTION
             BREACH OF IMPLIED WARRANTY OF MERCHANTIBILITY
                   (On Behalf of Plaintiff and All Class Members)

       63.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       64.     An implied warranty of merchantability arises with respect to Wal-Mart’s sale of

the Rice Rusks.

       65.     Defendant is in the business of selling the Rice Rusks.

       66.     The Rice Rusks would not pass without objection in the trade, since the packaging

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does not disclose the presence of milk and eggs.

       67.     The Rice Rusks are not adequately contained, packaged and labeled since the

packaging does not disclose the presence of milk and eggs.

       68.     Plaintiff and consumers cannot reasonably expect that a product that is required to

disclose the presence of milk and eggs nonetheless contains milk and eggs.

       69.     Within twenty-four hours of Plaintiff’s discovery of the existence of milk and

eggs in the Rice Rusks, she notified Wal-Mart.

       70.     The inability of the Rice Rusks to meet the label description was wholly due to

the Defendant's fault and without Plaintiff’s or Class Members’ fault or neglect, and was solely

due to the Defendant's manufacture and distribution of the Products to the public.

       71.     As a result of the foregoing, Plaintiff and Class Members have been damaged in

an amount to be proven at trial.

                              FOURTH CAUSE OF ACTION
                                       NEGLIGENCE
                        (On behalf of Plaintiff and All Class Members)

       72.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       73.     At all times relevant to this lawsuit, Wal-Mart was in the business of selling snack

products in its stores such as Rice Rusks.

       74.     Wal-Mart sold the Rice Rusks to Ms. Kelly.

       75.     The Rice Rusks were mislabeled and unsafe because the packaging did not

include the required warning concerning the presence of milk and/or eggs.

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       76.     As a direct and proximate result of the presence of milk and/or eggs, G.S. suffered

from raised and red hives all over her body. SG cried nearly continuously for two days and

continuously tried to scratch herself.

       77.     G.S. has been damaged in an amount to be determined at trial.

                                  FIFTH CAUSE OF ACTION
                            STRICT LIABILITY – FAILURE TO WARN
                                     (On behalf of Plaintiff)

       78.     Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       79.     Wal-Mart was under a duty to provide a warning that the Rice Rusks contained

eggs and/or milk.

       80.     Wal-Wart failed to provide such a warning.

       81.     The Rice Rusks contained eggs and/or milk at the time of sale.

       82.     As a direct and proximate result of the lack of warning about the presence of eggs

and/or milk in the Rice Rusks, G.S. suffered from raised and red hives all over her body. G.S.

cried nearly continuously for two days and continuously tried to scratch herself.

       83.     G.S. has been damaged in an amount to be determined at trial.


                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues.

WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for judgment as follows:

   (a) Declaring this action to be a proper class action under Rule 23 of the FRCP and certifying

       Plaintiff as the representative of the nationwide class and New York Subclass;
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   (b) Entering preliminary and permanent injunctive relief against Defendant, directing

      Defendant to correct its practices and to comply with consumer protection statutes

      nationwide, including federal New York consumer protection laws;

   (c) Awarding monetary damages, including treble damages;

   (d) Awarding punitive damages;

   (e) Awarding Plaintiff and Class Members their costs and expenses incurred in this action,

      including reasonable allowance of fees for Plaintiff’s attorneys and experts, and

      reimbursement of Plaintiff’s expenses; and

   (f) Granting such other and further relief as the Court may deem just and proper.

Dated: June 13, 2018
                                                          THE SULTZER LAW GROUP P.C.

                                                          Adam R. Gonnelli /s/
                                                   By: __________________________________
                                                                          Jason P. Sultzer, Esq.
                                                                            Joseph Lipari, Esq.
                                                                          Adam Gonnelli, Esq.
                                                               85 Civic Center Plaza, Suite 104
                                                                      Poughkeepsie, NY 12601
                                                                           Tel: (845) 483-7100
                                                                           Fax: (888) 749-7747
                                                              sultzerj@thesultzerlawgroup.com

                                                                         Frank S. Gattuso, Esq.
                                                                              9 Landgrove Drive
                                                                  Fayetteville, New York 13066
                                                                                 (315) 400-5958
                                                                    frankgattuso14@gmail.com

                                                              Counsel for Plaintiff and the Class



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